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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 MARK CUSACK, et al.,
                                                    Case No. 1:11-cv-00303-REB
                       Plaintiffs,
                                                    ORDER GRANTING MOTION
           v.                                       FOR SUMMARY JUDGMENT


 BRENT REINKE, et al.,

                       Defendants.



       Pending before the Court is Defendants’ Motion for Summary Judgment (Dkt. 54).

The Court held a telephone conference on this matter on June 19, 2013, in part, because

Plaintiffs had not filed a brief in response to Defendants’ Motion. (Dkt. 60). Despite this

additional notice to Plaintiffs’ counsel that a response brief was overdue, Plaintiffs still

have not filed the required response brief in the five months since the telephone

conference, nor have they filed any affidavits or a statement of disputed material facts.

Accordingly, the Court will consider the only brief filed in connection with the summary

judgment proceedings— Defendants’ opening brief —and deems Defendants’ Statement

of Material Facts undisputed.1

       1
           See D. Idaho L. Civ. R. 7.1(e)(2):
               In motions brought under Federal Rule of Civil Procedure 56,
               if the non-moving party fails to timely file any response
               documents required to be filed, such failure shall not be
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       For the reasons explained below, the Court will grant Defendants’ Motion for

Summary Judgment. In short, the Court’s independent review of the motion, record, and

Defendants’ supporting materials–including the facts considered undisputed–supports

granting Defendants summary judgment on the only claim remaining in this case.

                                     BACKGROUND

       Scott Hernandez, the father of Plaintiff C.L.C., committed suicide on October 2,

2010, while in the custody of Defendant Idaho Department of Corrections (the

“Department”). According to Plaintiffs’ Complaint, Mr. Hernandez had a documented

history of mental illness, suicide attempts, and suicide ideation in his clinical record and

Department file before he committed suicide. Compl. ¶ 20. Plaintiffs contend that

Defendant Hansen and the Defendant Does knew or should have known of Mr.

Hernandez’s suicidal tendencies or mental illness, yet let Mr. Hernandez remained in his

cell without adequate supervision, with tools or implements they knew or reasonably

should have known could be used for suicide, and did so knowing that other inmates were

threatening him and verbally assaulting him. Compl. ¶¶ 22, 25.


              deemed a consent to the granting of said motion by the Court.
              However, if a party fails to properly support an assertion of
              fact or fails to properly address another party's assertion of
              fact as required by Federal Rule of Civil Procedure 56(c) or
              Local Rule 7.1(b)(1) or (c)(2), the Court nonetheless may
              consider the uncontested material facts as undisputed for
              purposes of consideration of the motion, and the Court may
              grant summary judgment if the motion and supporting
              materials - including the facts considered undisputed - show
              that the moving party is entitled to the granting of the motion.
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       In a prior Order, the court dismissed Plaintiffs’ request for punitive damages and

their state law claims (Counts Two and Three). Order, p. 19 (Dkt. 26). Although the

dismissal was without prejudice, Plaintiffs did not file an amended complaint by the

deadline or otherwise seek to renew their state law claims. Accordingly, all that remains

is an Eighth Amendment claim, and Defendants request summary judgment in their favor

on that claim.

                        SUMMARY JUDGMENT STANDARD

       A principal purpose of summary judgment “is to isolate and dispose of factually

unsupported claims . . . .“ Celotex Corp. v.. Catrett, 477 U.S. 317, 323–24 (1986). It is

“not a disfavored procedural shortcut,” but is instead the “principal tool [ ] by which

factually insufficient claims or defenses [can] be isolated and prevented from going to

trial with the attendant unwarranted consumption of public and private resources.” Id. at

327.

       The moving party bears the initial burden of demonstrating the absence of a

genuine dispute of material fact. Devereaux v. Abbey, 263 F.3d 1070, 1076 (9th Cir.

2001). To carry this burden, the moving party need not introduce any affirmative

evidence (such as affidavits or deposition excerpts) but may simply point out the absence

of evidence to support the nonmoving party’s case. See Fairbank v. Wunderman Cato

Johnson, 212 F.3d 528, 532 (9th Cir. 2000). This shifts the burden to the non-moving

party to produce evidence sufficient to support a jury verdict in his favor. See Anderson,

477 U.S. at 256–57. The non-moving party must go beyond the pleadings and show “by

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[his] affidavits, or by the depositions, answers to interrogatories, or admissions on file”

that a genuine issue of material fact exists. See Celotex, 477 U.S. at 324.

       “[T]he mere existence of some alleged factual dispute between the parties will not

defeat an otherwise properly supported motion for summary judgment; the requirement is

that there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 247–48 (1986). Additionally, the Court is “not required to comb through the

record to find some reason to deny a motion for summary judgment.” Carmen v. San

Francisco Unified Sch. Dist., 237 F.3d 1026, 1029 (9th Cir. 2001) (quoting Forsberg v.

Pac. Northwest Bell Tel. Co., 840 F.2d 1409, 1418 (9th Cir. 1988)). Instead, the “party

opposing summary judgment must direct [the Court’s] attention to specific triable facts.”

Southern California Gas Co. v. City of Santa Ana, 336 F.3d 885, 889 (9th Cir. 2003).

Statements in a brief, unsupported by the record, cannot create a dispute of fact. Barnes

v. Independent Auto. Dealers, 64 F.3d 1389, 1396, n. 3 (9th Cir. 1995).

                                       DISCUSSION

       Plaintiffs’ Complaint was not verified and Plaintiffs have not disputed Defendants’

Statement of Material Facts or filed any declarations or affidavits supporting their

allegations. Accordingly, there are no genuine disputes as to any material fact remaining

in this case, and the record is sufficient for the Court to decide as a matter of law whether

summary judgment in favor of Defendants is appropriate on Plaintiffs’ Eighth

Amendment claim.



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A.     Plaintiffs Have Not Provided a Factual or Legal Basis for Supervisor Liability

       At the outset, Plaintiffs have not established a dispute of material fact as to the

personal involvement of Defendants Reinke, Kempf, Sonnen, Blades, Crosby, and

Bennett in the alleged violations. “Liability under section 1983 arises only upon a

showing of personal participation by the defendant.” Taylor v. List, 880 F.2d 1040, 1045

(9th Cir. 1989) (citing Fayle v. Stapley, 607 F.2d 858, 862 (9th Cir. 1979)). “A

supervisor is only liable for constitutional violations of his subordinates if the supervisor

participated in or directed the violations, or knew of the violations and failed to act to

prevent them. There is no respondeat superior liability under section 1983.” Id. (citing

Ybarra v. Reno Thunderbird Mobile Home Village, 723 F.2d 675, 680-81 (9th Cir.

1984)). There are no allegations that Defendants Reinke, Kempf, Sonnen, Blades,

Crosby, and Bennett participated personally in the alleged constitutional violations and no

facts in the record indicating that they directed the alleged violations.2 Thus, these

Defendants are entitled to summary judgment and the only remaining claim is that against

Defendant Vicki Hansen.




       2
          Plaintiffs alleged that these Defendants supervised Department of Corrections
employees and “were responsible for making and/or implementing and/or overseeing
policies, procedures or practices within the Department of Corrections”, but stated in the
Complaint that “[t]hese factual allegations against one or more defendants will likely
have evidentiary support after a reasonable opportunity for further investigation or
discovery”. Complaint, ¶¶ 27-28. Plaintiffs have not submitted any evidentiary support
for these allegations or any others.
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B.       Plaintiffs Have Not Provided a Factual Basis for Their Eighth Amendment
         Claim Against Hansen

         The general requirements of a § 1983 claim are (1) a deprivation of the claimant’s

constitutionally-protected right, privilege, or immunity, by (2) a person acting under color

of state law. Leer v. Murphy, 844 F.2d 628, 632–33 (9th Cir. 1988). Here, Plaintiffs

allege an Eighth Amendment violation, i.e., that officials were deliberately indifferent to

serious medical needs of Scott Hernandez, a person in custody. See Gibson v. Cy. of

Washoe, Nev., 290 F.3d 1175, 1187 (9th Cir. 2002). Specifically, Plaintiffs allege that

Hansen was deliberately indifferent to Scott Hernandez’s “suicidal tendencies or mental

illness and did not seek or provide mental health treatment or undertake adequate suicide

prevention measures on Scott’s behalf.” Compl. (Dkt. 1).

         To state a claim of deliberate indifference, Plaintiffs must allege both that the

Defendant knew of a serious medical need, and disregarded it by failing to adequately

respond. Simmons v. Navajo County, Ariz., 609 F.3d 1011, 1017–18 (2010). Under this

standard, the Plaintiffs must meet both an objective and a subjective requirement.

Toguchi v. Chung, 391 F.3d 1051, 1057 (9th Cir.2004). To satisfy the objective

requirement, the Plaintiffs must show a serious medical need or “substantial risk of

serious harm.” Clouthier v. County of Contra Costa, 591 F.3d 1232, 1242 (9th Cir.

2010).

         Although Mr. Hernandez informed Department of Correction employees through a

mental health evaluation in 2007 that he had suicidal thoughts in the past, he also said he


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had not had them since his child was born (which occurred a few months before that

evaluation). Defs.’ St. Facts, ¶ 2 (Dkt. 54-1). He was placed on suicide watch twice in

2008, after cutting his arm with a razor blade on one occasion and inflicting superficial

lacerations another time; however, he admitted he did the latter in the hope of being

moved to a different housing unit. Id. at ¶¶ 7-8. In addition to being placed on suicide

watch both times, he received weekly mental health evaluations for several months. Id.

       On October 2, 2010, more than two years Mr. Hernandez had last cut himself, he

committed suicide by hanging himself. Id. at ¶ 12. The day before this event, Defendant

Hansen spoke briefly with Mr. Hernandez. According to Hansen, Hernandez “did not

indicate he was having any issues out of the ordinary at that time” and “did not exhibit

any behaviors that would indicate . . . he was suicidal” at that time. Hansen Aff., ¶¶ 13-

14 (Dkt. 54-4). Hernandez had an upcoming parole hearing, and had told Hansen during

his Suicide Risk Assessments that “he had several reasons to look forward to the future,

most importantly, that he had a son he wanted to see.” Id. at ¶ 12. Thus, the undisputed

evidence does not support that Mr. Hernandez was at substantial risk of serious harm to

himself at the time when he committed suicide, two years after any incident of self-

inflicted injuries.

       Moreover, to the extent Hernandez was at risk, there is evidence in the record that

the Department of Correction employees “were attentive to the safety of Scott Hernandez

through clinician and psychologist contacts, correctional officer interaction, contract

medical services contact, programming, and other staff interactions.” Morgan Aff., ¶ 8

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(Dkt. 54-3). Defendants also placed Hernandez in more restrictive environments, at

times, and increased supervision when needed for suicide watches and psychiatric

interventions. Id.

       Finally, to satisfy the subjective requirement, Plaintiffs must show both that the

Defendant was aware of facts from which one could infer a substantial risk of serious

harm, and also that the individual Defendant actually drew that inference. Simmons v.

Navajo County, 609 F.3d 1011, 1017–18 (9th Cir. 2010). “Deliberate indifference is a

high legal standard.” Toguchi, 391 F.3d at 1060. Where a defendant should have been

aware of a risk, but was not, there is no violation. Gibson, 290 F.3d at 1188. A mere

showing that a defendant acted “imprudently, wrongly, or negligently,” is insufficient.

Simmons, 609 F.3d at 1020. Here, even if Defendant Hanson arguably should have been

aware objectively of a suicide risk at the time she spoke with Hernandez on October 1,

2010, her affidavit explains that she was subjectively not aware of a risk and details the

reasons why she did not perceive a risk.

       Under these circumstances, where Defendants’ facts are deemed undisputed and

Plaintiffs have put forward nothing for the Court to consider (other than the Complaint’s

bare allegations), and the supporting materials–including the facts considered

undisputed–show that the moving party is entitled to the granting of the motion, summary

judgment in favor of Defendants is warranted.




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      ACCORDINGLY, IS HEREBY ORDERED that Defendants’ Motion for

Summary Judgment (Dkt. 54) is GRANTED and this case DISMISSED, with prejudice.

                              DATED: November 19, 2013.




                              Honorable Ronald E. Bush
                              U. S. Magistrate Judge




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